                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE




 UNITED STATES OF AMERICA                                 )
                                                          )
 v.                                                       )       No. 3:08-CR-46
                                                          )       (Phillips)
 ALEJANDRO BARBA                                          )



                                           ORDER



               There being no timely objection by defendant, see 28 U.S.C. § 636(b)(1), and

 the court being in complete agreement with the magistrate judge, the Report and

 Recommendation (R&R) [Doc. 108] filed by the Honorable C. Clifford Shirley, United States

 Magistrate Judge, on November 28, 2008, is hereby ACCEPTED IN WHOLE whereby

 defendant’s motion to dismiss Counts One and Two of the indictment, or in the alternative

 to obtain a bill of particulars of the indictment [Doc. 67]; and defendant’s motion to dismiss

 Count One as duplicitous [Doc. 72] are DENIED.




                                            ENTER:



                                                   s/ Thomas W. Phillips
                                                 United States District Judge




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